
389 U.S. 50 (1967)
CENTRAL MAGAZINE SALES, LTD.
v.
UNITED STATES.
No. 368.
Supreme Court of United States.
Decided October 23, 1967.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT.
Richard Lipsitz for petitioner.
Solicitor General Marshall, Assistant Attorney General Vinson and Jerome M. Feit for the United States.
PER CURIAM.
The petition for a writ of certiorari is granted and the judgment of the United States Court of Appeals for the Fourth Circuit is reversed. Redrup v. New York, 386 U. S. 767.
MR. JUSTICE HARLAN concurs in the judgment of reversal upon the premises stated in his separate opinion in Roth v. United States, 354 U. S. 476, 496, and in his dissenting opinion in Memoirs v. Massachusetts, 383 U. S. 413, 455, 457.
THE CHIEF JUSTICE believes this case is controlled by Roth v. United States, 354 U. S. 476, and the judgment should be affirmed in accordance with the principles enunciated in the opinion of the Court in that case.
MR. JUSTICE MARSHALL took no part in the consideration or decision of this case.
